 Case 1:06-cr-00080-SOM-BMK   Document 1632   Filed 02/20/15   Page 1 of 14
                              PageID.17704


                 IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )        CRIM. NO. 06-00080 (02) SOM
                              )        CIV. NO. 13-00178 SOM/KSC
          Plaintiff,          )
                              )
     vs.                      )        ORDER DENYING RULE 59(e)
                              )        MOTION FILED BY DEFENDANT
RODNEY JOSEPH, JR. (02),      )        RODNEY JOSEPH, JR.
                              )
          Defendant.          )
_____________________________ )

              ORDER DENYING RULE 59(e) MOTION FILED BY
                    DEFENDANT RODNEY JOSEPH, JR.

I.          INTRODUCTION.

            Defendant Rodney Joseph, Jr., has been a prolific pro

se filer.    The present motion seeks to alter or amend the

judgment against him with respect to a motion he filed under 28

U.S.C. § 2255, pursuant to Rule 59(e) of the Federal Rules of

Civil Procedure.    Because Joseph fails to demonstrate any

legitimate reason supporting his Rule 59(e) motion, the motion is

denied.

II.         PROCEDURAL HISTORY.

            On March 20, 2009, after a lengthy jury trial, Joseph

was convicted of violating the Racketeer Influenced and Corrupt

Organizations Act (“RICO”) and the Violent Crimes in Aid of

Racketeering Enterprise Act (“VICAR”), as charged in seven counts

in the Second Superseding Indictment of October 12, 2006.            See

Verdict Form as to Defendant (02) Rodney Joseph, Jr., (March 20,

2009), ECF No. 1090.    Joseph’s crimes included a substantive RICO
 Case 1:06-cr-00080-SOM-BMK   Document 1632     Filed 02/20/15   Page 2 of 14
                              PageID.17705


violation of 18 U.S.C. § 1962(c), with racketeering acts in the

form of an illegal gambling business, an extortion conspiracy,

and robbery (Count 1); a RICO conspiracy in violation of 18

U.S.C. § 1962(c) (Count 2); a conspiracy to operate an illegal

gambling business in violation of 18 U.S.C. § 1955 and 18 U.S.C.

§ 2 (Count 3); a VICAR violation in the form of an assault with a

dangerous weapon in violation of 18 U.S.C. § 1959(a)(3) and 18

U.S.C. § 2 (Count 4); a VICAR violation in the form of the murder

of Lepo Taliese in violation of 18 U.S.C. § 1959(a)(1) and 18

U.S.C. § 2 (Count 6); a VICAR violation in the form of the murder

of Romelius Corpuz, Jr., in violation of 18 U.S.C. § 1959(a)(1)

and 18 U.S.C. § 2 (Count 7); and a VICAR violation in the form of

the attempted murder of Tinoimalo Sao in violation of 18 U.S.C.

§ 1959(a)(5) and 18 U.S.C. § 2 (Count 8).         Id.

          On July 9, 2009, the court sentenced Joseph to life in

prison as to Counts 6 and 7, as statutorily required; 20 years in

prison as to Counts 1, 2, and 4; 5 years in prison as to Count 3;

and 10 years in prison as to Count 8.         The court ran all terms

concurrently.   See ECF No. 1157.       Notwithstanding Joseph’s life

imprisonment sentence, the court also ordered 5 years of

supervised release in case that should become applicable.              Id.

The court additionally ordered Joseph to pay restitution of

$5,552.68 to the family of Lepo Taliese, $5,552.68 to the family

of Romelius Corpuz, Jr., and $8,000 to the State of Hawaii Crime


                                    2
 Case 1:06-cr-00080-SOM-BMK     Document 1632   Filed 02/20/15   Page 3 of 14
                                PageID.17706


Victim Compensation Commission.       This restitution was owed

jointly and severally with co-Defendants Ethan Motta and Kevin

Gonsalves.    Id.   The court also ordered Joseph to pay $700 in

mandatory special assessments, $100 for each count of conviction.

Id.

            On July 10, 2009, Joseph appealed.        See ECF No. 1159.

The Ninth Circuit affirmed the judgment in a Memorandum Decision

filed on January 10, 2012.       See ECF No. 1341.

            Since then, Joseph has filed countless motions, an

incomplete catalog of which is included here.          On April 15, 2013,

Joseph filed 1) a Motion Under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody, ECF

No. 1466; 2) a “Combined Notice of Intent to File 28 USC 2255

Motion to Vacate, Modify, or Correct Sentence By a Person in

Federal Custody, Satisfaction of Judgment, and Request for Bail

Thereon,” ECF No. 1467; and 3) a motion to hold his § 2255 motion

in abeyance, ECF No. 1468.

            On April 17, 2013, the court terminated Joseph’s motion

to hold his § 2255 motion in abeyance as unnecessary.             See ECF

No. 1469.

            On May 13, 2013, Joseph filed “Combined Motions to

Vacate the Judgements.”       See ECF No. 1475.




                                     3
 Case 1:06-cr-00080-SOM-BMK    Document 1632      Filed 02/20/15   Page 4 of 14
                               PageID.17707


            On August 19, 2013, the Government filed its responses

to the § 2255 Motion and “Combined Motions to Vacate the

Judgments.”    See ECF Nos. 1504 and 1505.

            On August 30, 2013, Joseph filed “Combined Motions for

Bartkus vs. Illinois Evidentiary Hearing on Double Jeopardy

Grounds.”    See ECF No. 1509.

            Joseph had previously joined in Co-Defendant Motta’s

Motions for New Trials, filed in the criminal case before Joseph

filed his § 2255 Motion.      See ECF Nos. 1349 and 1391.           When Motta

withdrew the new trial motions, the court terminated Joseph’s

joinders in those motions pursuant to this court’s local rule

governing joinders.    See ECF No. 1521.        On December 18, 2013,

recognizing Joseph’s inability to pursue the arguments raised in

his co-Defendant’s withdrawn new trial motions, the court granted

Joseph leave to file an optional supplemental memorandum of no

more than 3000 words in support of his § 2255 Motion.               See id.

The optional memorandum had to be filed no later than January 31,

2014, and was to be limited “to matters that were timely raised

in Joseph’s § 2255 motion.”      Id.       The court told Joseph that, if

he chose not to file the optional memorandum, the court would

consider briefing with respect to his § 2255 Motion to be closed.

Id.

            On January 21, 2014, the court granted Joseph’s request

for an extension of the deadline for filing his optional


                                       4
 Case 1:06-cr-00080-SOM-BMK     Document 1632   Filed 02/20/15     Page 5 of 14
                                PageID.17708


supplemental memorandum, setting a new deadline of February 14,

2014.   See ECF No. 1526.

           On February 18, 2014, Joseph filed “Combined Objections

and Rebuttal.”    See ECF No. 1530.      This 108-page document far

exceeded the 3000-word limitation set forth in the court’s order

of December 18, 2013.    For that reason, the court only considered

the first 15 pages of the document, which appeared to include a

little more than 3000 words.       See ECF No. 1532.

           On February 27, 2014, the court denied Joseph’s § 2255

Motion, which it deemed to consist of ECF Nos. 1466, 1475, and

1509.   See ECF No. 1537.      Given the length and lack of clarity of

Joseph’s filings, the court delayed the entry of judgment to

allow Joseph to indicate to the court whether the court might

have inadvertently failed to rule on any issue.           Joseph was given

until March 24, 2014, to identify any such issue.            See id.,

PageID # 16195.

           On March 28, 2014, Joseph filed a motion for

reconsideration of the order of February 27, 2014.               See ECF No.

1546.   On April 17, 2014, Joseph filed a motion for leave to file

an amended § 2255 motion and a second motion to reconsider.                See

ECF Nos. 1550 and 1551.       On May 1, 2014, Joseph finally

identified issues he said that he had raised but that the court

had not decided in its order of February 27, 2014.               See ECF No.

1560.


                                     5
 Case 1:06-cr-00080-SOM-BMK   Document 1632   Filed 02/20/15   Page 6 of 14
                              PageID.17709


          On September 9, 2014, the court denied the various

motions filed after the court had denied Joseph’s § 2255 Motion.

See ECF No. 1603.   Judgment against Joseph was entered the same

day.

          On October 6, 2014, Joseph filed the present motion

under Rule 59(e) of the Federal Rules of Civil Procedure.            See

ECF No. 1613.   Joseph filed an Amended Memorandum in support of

that motion on November 3, 2014.       See ECF No. 1620.

III.      RULE 59(e) STANDARD.

          Rule 59(e) of the Federal Rules of Civil Procedure

authorizes motions to alter or amend a judgment.         Such motions

“may not be used to relitigate old matters, or to raise arguments

or present evidence that could have been raised prior to entry of

judgment.”   11 Charles Alan Wright, Arthur R. Miller, & Mary Kay

Kane, Federal Practice and Procedure § 2810.1 (2d ed. 1995).             A

“district court enjoys considerable discretion in granting or

denying” a Rule 59(e) motion.     McDowell v. Calderon, 197 F.3d

1253, 1255 n.1 (9th Cir. 1999) (quoting Federal Practice and

Procedure § 2810.1).   See also Herbst v. Cook, 260 F.3d 1039,

1044 (9th Cir. 2001) (“denial of a motion for reconsideration is

reviewed only for an abuse of discretion”).        A Rule 59(e) motion

may be granted on any of four grounds: (1) a manifest error of

law or fact on which the judgment is based; (2) newly discovered

or previously unavailable evidence; (3) manifest injustice; and


                                   6
 Case 1:06-cr-00080-SOM-BMK   Document 1632    Filed 02/20/15   Page 7 of 14
                              PageID.17710


(4) an intervening change in controlling law.         McDowell, 197 F.3d

at 1255 n.1 (quoting Federal Practice and Procedure § 2810.1).

“A Rule 59(e) motion may not be used to raise arguments or

present evidence for the first time when they could reasonably

have been raised earlier in the litigation.”         See Kona Enter.,

Inc. v. Estate of Bishop, 229 F.2d 877, 890 (9th Cir. 2000).

IV.         ANALYSIS.

            A.    The Court Did Not Overlook ECF Nos. 1467 and 1468.

            Joseph first seeks relief under Rule 59(e), arguing

that the court overlooked the arguments he made in ECF Nos. 1467

and 1468.    Joseph is incorrect.   On April 17, 2013, the court

terminated Joseph’s motion to hold his § 2255 Motion in abeyance,

filed at ECF No. 1469.     The court’s ruling addressed the same

argument raised in ECF No. 1467.        Joseph wanted to hold his

§ 2255 Motion in abeyance until he received discovery.            The court

noted that, because it would be addressing the new trial motions

filed in the criminal case before addressing Joseph’s § 2255

Motion, Joseph would have many months to address the concerns

raised in his April 2013 filing, including his concern that he

could not at that time prepare a proper § 2255 motion without

“discovery.”     The court also warned Joseph that the “statutory

time restrictions cannot be extended by the filing of

supplemental memoranda.”

                                    7
 Case 1:06-cr-00080-SOM-BMK   Document 1632   Filed 02/20/15   Page 8 of 14
                              PageID.17711


          The court notes that ECF No. 1467 made the argument

that, because Joseph had paid the $700 required by statute

(presumably a reference to the special assessment of $100 per

count), he should be released.     That argument was rejected in the

court’s order denying his § 2255 Motion.       See ECF No. 1537,

PageID #s 16183-85.

          B.    The Court Was Not Required To Inform Joseph That
                it Intended to Treat his Motion Under 28 U.S.C.
                § 2255 to Vacate, Set Aside, or Correct Sentence
                by a Person in Federal Custody, ECF No. 1466, as a
                § 2255 Motion.

          Citing Castro v. United States, 540 U.S. 375 (2003),

Joseph argues that the court should have told him that it would

be construing his Motion Under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody, ECF

No. 1466, as a § 2255 motion.     But that case is inapplicable.

Castro examined the widely accepted practice in the federal

courts of recharacterizing pro se filings as something other than

what pro se litigants label them as.      The Supreme Court noted

that the practice of recharacterizing a pro se filing might have

the effect of depriving a litigant of an opportunity to file a

§ 2255 motion, as “second or successive” motions under § 2255 are

prohibited unless a litigant gets certification that

          (1) newly discovered evidence that, if proven
          and viewed in light of the evidence as a

                                   8
 Case 1:06-cr-00080-SOM-BMK   Document 1632   Filed 02/20/15     Page 9 of 14
                              PageID.17712


           whole, would be sufficient to establish by
           clear and convincing evidence that no
           reasonable factfinder would have found the
           movant guilty of the offense; or

           (2) a new rule of constitutional law, made
           retroactive to cases on collateral review by
           the Supreme Court, that was previously
           unavailable.

The Supreme Court held that, before recharacterizing a pro se

filing as a § 2255 motion, a court must “warn the litigant that

this recharacterization means that any subsequent § 2255 motion

will be subject to the restrictions on ‘second or successive’

motions, and provide the litigant an opportunity to withdraw the

motion or to amend it so that it contains all the § 2255 claims

he believes he has.”   Id. at 383.

           This court did not recharacterize Joseph’s “Motion

Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence

by a Person in Federal Custody,” filed at ECF No. 1466.             Joseph

himself characterized his motion as brought under § 2255, and

this court accepted Joseph’s own characterization.             The court

allowed Joseph to supplement his motion.       See ECF Nos. 1475,

1509.   The court simply did not deprive Joseph of his opportunity

to exercise rights under § 2255.       In fact, the court went out of

its way to ensure that it addressed every timely raised argument,




                                   9
 Case 1:06-cr-00080-SOM-BMK    Document 1632   Filed 02/20/15   Page 10 of 14
                               PageID.17713


giving Joseph the opportunity to inform the court of any issue

the court may have overlooked.      See ECF No. 1537, PageID # 16195.

            C.   Although Courts Liberally Construe Pro Se Filings,
                 Pro Se Litigants Are Still Required to Follow
                 Court Rules.

            Joseph complains that this court applied standards too

strictly to him given his pro se status.        He argues that this

court should have let him file his 108-page supplemental

memorandum, even though the court had expressly limited that

document to 3000 words.       Joseph demonstrates no error justifying

relief under Rule 59(e).

            Joseph had filed innumerable documents and motions,

many of which are not discussed in this order.          In an effort to

ensure that briefing did not continue indefinitely, the court

placed a 3000-word limitation on any supplemental brief.             Joseph

ignored that limitation.      The court was under no obligation to

contenance this clear flouting of an explicit limitation.

            On May 1, 2014, Joseph identified 12 issues that he

said he had raised in his § 2255 Motion but that the court had

allegedly not addressed in the order denying the motion.             See ECF

No. 1560.    None of these issues was actually raised in the

original timely filed § 2255 Motion.       Instead, each was raised

for the first time in Joseph’s supplemental filing of February



                                    10
 Case 1:06-cr-00080-SOM-BMK   Document 1632   Filed 02/20/15   Page 11 of 14
                              PageID.17714


18, 2014.    The first of those issues was raised on page 49 of

that brief.    This was the very brief that the court had limited

to 3000 words.    The court had earlier warned Joseph that the

“statutory time restrictions cannot be extended by the filing of

supplemental memoranda.”      See ECF No. 1469.    Joseph therefore

should not have been surprised by the court’s refusal to allow

him to raise new issues in a supplemental memorandum filed 10

months after he filed his original § 2255 motion and many pages

beyond the limit set by the court.      See 28 U.S.C. § 2255(f)

(setting forth a one-year limitation period for motions brought

pursuant to § 2255).

            Nor does Joseph demonstrate that any of the grounds

this court supposedly failed to address entitles him to relief

under § 2255.    For example, he does not show with respect to any

of the matters his motion discusses how he overcomes the

procedural bars or defaults discussed in the court’s order of

February 27, 2014.    Instead, he only generally asserts, without

more, that he should have been allowed to proceed on untimely

claims raised on pages exceeding the court’s briefing limitation.

This is not sufficient for relief under Rule 59(e).




                                   11
 Case 1:06-cr-00080-SOM-BMK   Document 1632   Filed 02/20/15   Page 12 of 14
                              PageID.17715


           D.   To the Extent Joseph’s Filings Were Unclear, This
                Court Had No Duty to Do More Than It Did to
                Clarify the Filings.

           Joseph claims that this court should have asked him to

clarify matters if the court was uncertain as to what he was

arguing.   Rather than invite a prolific pro se filer to submit

more paper to the court, the court attempted to glean from

Joseph’s filings what arguments he was attempting to make.             The

court’s attempts in that regard included giving Joseph a chance

to identify any issue the court may have missed.          Thus, Joseph

himself could have clarified matters for the court.            He did not

do so.   Even in the present motion he does not identify how the

court misconstrued any of his arguments.

           To the extent he is arguing that his 108-page

supplemental memorandum was intended to be an amended memorandum,

rather than a supplemental memorandum, that does not excuse the

ignoring of the court-imposed word limitation.         Joseph did not

have permission to file an amended memorandum.         In fact, by the

time he filed his 108-page supplemental memorandum, the

Government had filed its response to his original Motion, so that

amending the original Motion would have been patently unfair.

See ECF No. 1603, PageID #s 17442-44.




                                   12
 Case 1:06-cr-00080-SOM-BMK    Document 1632   Filed 02/20/15   Page 13 of 14
                               PageID.17716


          Joseph was not allowed to skirt the expired one-year

limitation period by filing an amended memorandum that raised new

issues for the first time.       The new issues would have constituted

a “second or successive” motion for which he lacked certification

from the Ninth Circuit.       The proposed amended memorandum would

have resulted in undue delay and included new claims that had

been rejected by the Ninth Circuit or by this court, or were

simply unpersuasive.

          E.    Joseph’s Disagreement With This Court’s Ruling
                Does Not Justify Relief Under Rule 59(e).

          As this court explained in its order of September 9,

2014, Joseph’s mere disagreement with the court’s evaluation of

his claims is not a valid basis for reconsidering the order.              See

ECF No. 1603, PageID # 17439.       In Joseph’s latest motion, he

asserts the importance of a rope found in a van.           See ECF No.

1620, PageID # 17650.    This court has already discussed and

rejected this assertion.       See ECF No. 1603, PageID # 17439; ECF

No. 1537, PageID #s 16176-78.       Rule 59(e) relief is not warranted

just because Joseph believes the court should have evaluated his

claim differently.




                                    13
 Case 1:06-cr-00080-SOM-BMK    Document 1632    Filed 02/20/15   Page 14 of 14
                               PageID.17717


V.          CONCLUSION.

            Joseph’s motion under Rule 59(e) of the Federal Rules

of Civil Procedure is denied.


            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, February 20, 2015.




                                     /s/ Susan Oki Mollway
                                    Susan Oki Mollway
                                    Chief United States District Judge




United States of America v. Joseph, Crim. No. 06-00080 SOM (02); Civ. No.
13-00178 SOM/KSC; ORDER DENYING RULE 59(e) MOTION FILED BY DEFENDANT RODNEY
JOSEPH, JR.




                                     14
